            Case 1:20-cv-01609-UNA Document 4 Filed 06/29/20 Page 1 of 2                   FILED
                                                                                               6/29/2020
                                                                                      Clerk, U.S. District & Bankruptcy
                                                                                      Court for the District of Columbia
                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

ANBASA TRAZELL,                                )
                                               )
            Plaintiff,                         )
                                               )
       v.                                      )       Civil Action No. 20-1609 (UNA)
                                               )
DISTRICT OF COLUMBIA,                          )
                                               )
                 Defendant.                    )



                                  MEMORANDUM OPINION

       This matter is before the Court on its initial review of plaintiff’s pro se complaint, ECF

No. 1, and application for leave to proceed in forma pauperis, ECF No. 2. The Court will grant

the in forma pauperis application and dismiss the case because the complaint fails to meet the

minimal pleading requirements of Rule 8(a) of the Federal Rules of Civil Procedure.

       Complaints filed by pro se litigants are held to less stringent standards than those applied

to formal pleadings drafted by lawyers. See Haines v. Kerner, 404 U.S. 519, 520 (1972). Still,

pro se litigants must comply with the Federal Rules of Civil Procedure. Jarrell v. Tisch, 656 F.

Supp. 237,239 (D.D.C. 1987). Rule 8(a) of the Federal Rules of Civil Procedure requires

complaints to contain “(1) a short and plain statement of the grounds for the court’s jurisdiction

[and] (2) a short and plain statement of the claim showing that the pleader is entitled to relief.”

Fed. R. Civ. P. 8(a); see Ashcroft v. Iqbal, 556 U.S. 662, 678-79 (2009); Ciralsky v. CIA, 355

F.3d 661, 668-71 (D.C. Cir. 2004). The Rule 8 standard ensures that defendants receive fair

notice of the claim being asserted so that they can prepare a responsive answer, mount an

adequate defense, and determine whether the doctrine of res judicata applies. Brown v.




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Califano, 75 F.R.D. 497, 498 (D.D.C. 1977). It also assists the court in determining whether it

has jurisdiction over the subject matter.

       Plaintiff, a District of Columbia resident, has filed a Complaint for Declaratory and

Injunctive Relief against the District of Columbia. The complaint is nearly impossible to follow.

Plaintiff begins: “In November 2019 it was discovered from a FOIA request that during the

Department of Correction’s hiring process, official forms were altered giving the presumption of

unsuitability; thus, permanently barring complainant from employment.” Compl. at 2. The

wide-ranging allegations that follow are “rambling, disjointed, incoherent” and “confusing” and

thus “patently fail [Rule 8(a)’s] standard[.]” Jiggetts v. D.C., 319 F.R.D. 408, 413 (D.D.C.

2017), aff’d sub nom. Cooper v. D.C., No. 17-7021, 2017 WL 5664737 (D.C. Cir. Nov. 1, 2017).

Therefore, this case will be dismissed without prejudice. A separate order accompanies this

Memorandum Opinion.



                                             SIGNED:  EMMET G. SULLIVAN
                                             UNITED STATES DISTRICT JUDGE
DATE: June 29, 2020




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